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 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                  Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S FIRST ADMINISTRATIVE
           v.                                     MOTION TO CONSIDER WHETHER
15                                                ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED               SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEFENDANTS’ MOTION TO CONSIDER                                   Case No. 4:19-cv-07123-PJH
     WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2            PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the

 4   Court to consider whether certain portions of and exhibits attached to Defendants’ Motion to

 5   Exclude Certain Opinions of Dana Trexler, CPA/CFF (the “Motion to Exclude” and, together with

 6   the exhibits filed under seal, the “Sealed Materials”) should be sealed. Unredacted versions of the

 7   Sealed Materials are attached as Exhibits 1 and A, B, C, D and F to the declaration of Aaron S.
                                     1
 8 Craig filed currently herewith.
 9            The Sealed Materials constitute, refer to, and/or describe materials that Plaintiffs

10   WhatsApp LLC, f/k/a WhatsApp Inc. (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook,

11   Inc. (“Facebook” and, collectively, “Plaintiffs”) have designated as “Highly Confidential -

12   Attorney’s Eyes Only” under the Stipulated Protective Order (Dkt. No. 132). Accordingly,

13   Defendants move the Court to consider whether the Sealed Materials should be sealed.

14            Other than with respect to Exhibit A and F (as discussed in Defendants’ Administrative

15 Motion to Seal), Defendants take no position as to whether the Sealed Materials satisfy the

16   requirements for sealing. They reserve the right to challenge any confidentiality designations and

17   to oppose any statement by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

18            For the reasons set forth above, Defendants respectfully request that the Court permit the

19   unredacted Motion to Exclude (Craig Decl. Exh. 1) and Exhibits A, B, C, D and F thereto (Craig

20   Decl. Exhs. A, B, C, D and F) to be conditionally filed under seal.

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     Defendants have separately filed a “second” administrative motion to seal Exhibits A and F for
26 reasons set forth therein and in the Craig Declaration. Defendants do not contend or believe that

27 Exhibit E warrants sealing.

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         DEFENDANTS’ MOTION TO CONSIDER                                       Case No. 4:19-cv-07123-PJH
         WHETHER ANOTHER PARTY’S MATERIAL
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 1   DATED: January 9, 2025                    KING & SPALDING LLP
 2

 3                                             By: /s/ Aaron S. Craig
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 4
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 5
                                                  Attorneys for Defendants NSO GROUP
 6                                                TECHNOLOGIES LIMITED and Q
                                                  CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO CONSIDER       2                      Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S
      MATERIAL SHOULD BE SEALED
